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                              UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF SOUTH CAROLINA


In re:                                                          Chapter 11

Watertech Holdings, LLC                                         Case No. 20-00662-jw

                                Debtor.


    SECOND AMENDED BIDDING REPORT FOR THE DEBTOR’S SALE MOTION

         Watertech Holdings, LLC (“Debtor”) hereby file this Amended Bidding Report for the
Sale Motion. Reporting to this Court, the Debtor states the following:
                                           BACKGROUND FACTS
    1. The Debtor filed its voluntary petition for relief under chapter 11 of the Bankruptcy Code
on February 6, 2020 (the “Petition Date”). The Debtor is operating its businesses and managing
its assets as debtor in possession pursuant to §§1107(a) and 1108 of the Bankruptcy Code.
    2. On March 2, 2020, the Debtor filed a Motion for entry of an order: (1) approving the
terms of a proposed sale of substantially all of the Debtor’s assets, including contract rights,
causes of action, intellectual property, and, goodwill, to WT Asset Acquisitions Group, LLC
(“WAAG” or “Stalking Horse”) free and clear of liens, claims, and encumbrances pursuant to 11
U.S.C. §3631 for a purchase price which consists of $115,000 in cash upon closing, $10,000 of
earnest money that was expended by the Debtor pre-petition in due diligence to maintain a patent
application, post-closing payments from the assignment of five percent (5%) of the net-profit
from Purchaser for a period of five (5) years not to exceed $250,000, and cancellation of
indebtedness in the amount of $976,200 (the “Purchase Price”).
    3. Along with the Sale Motion, Debtor filed a Motion for Order Establishing Bidding and
Other Procedures in Connection with the Sale of Assets of the Debtor and Granting Protections
to the Proposed Purchaser (“Bid Procedures Motion”). Objections to Debtor’s Bid Procedures
Motion were filed by the United States Trustee (“UST”) [Docket No. 34], Colette Winters


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 11 U.S.C. §§ 101, et seq., will hereinafter be referred to as the “Bankruptcy Code” and further references to
sections of the Bankruptcy Code will be made by section number only.
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[Docket no. 48]; Dennis Avery, Rick M. Crosby, Malcom Fages, and Kenneth Metzger [Docket
No. 40] (collectively, the “Objecting Parties”).
    4. On April 15, 2020 with the consent of the Objecting Parties, the Court entered its
Consent Order Establishing Bidding and Other Procedures In Connection with the Sale of Assets
of the Debtors and Granting Protections to the Proposed Purchaser (“Bid Procedures Order”)
[Docket No. 51].
    5. On June 26, 2020, Debtor received the First Amended and Restated Asset Purchase
Agreement (“Amended APA”) from WAAG. Debtor also received an email expressing an intent
to bid from counsel for Argus Group on or before July 1, 2020.
    6. On July 7, 2020, the hearing scheduled on Debtor’s Sale Motion was continued to August
5, 2020 at 1:00 P.M. in compliance with COVID Restrictions found in the Amended Standing
Order entered Tuesday, May 19, 2020 by Chief District Judge R. Bryan Harwell.                                 This
Bankruptcy Court’s Notice of Continuance of the Sale Hearing [Docket No. 69], further provides
that any additional bids or objections to the Sale Motion be filed on or before July 8, 2020 at
10:30 A.M.
    7. The Debtor received a proposed Asset Purchase Agreement from Argus Group (the
“Argus APA”) prior to 10:30 A.M. on July 8, 2020. Despite the language of the Argus APA, as
of the filing of this Amended Bidding Report, Argus Group has not supplied the Debtor with a
$125,000 earnest money deposit. 2
    8. No new objections were filed to Debtor’s Sale Motion.
    9. Counsel for the Debtor has been in contact with Argus regarding the contingencies of the
Argus APA and the earnest money deposit on July 8, 10, and 14, 2020.
    10. On July 21, 2020, WAAG submitted a Second Amended and Restated Asset Purchase
Agreement (“Second Amended APA”) for the purposes of describing the assets being purchased
with greater specificity.




2 Counsel for the Debtor was contacted by Argus Group on August 4, 2020. Argus inquired whether the removal of
contingencies and deposit of funds sufficient to consummate the sale would allow the Debtor to report that Argus is
a Qualified Competing Bidder. Debtor’s Counsel advised Argus that it should present a non-contingent APA,
deposit the required earnest money, and appear at the hearing to pursue its bid.




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   11. On July 31, 2020, the Debtor received a proposed Asset Purchase Agreement from
PureCycle, LLC (the “PureCycle APA”) along with an earnest money deposit in the amount of
$125,000.
                                          DISCUSSION
   12. Pursuant to the Bid Procedures Order, any bid from any persons or entity other than the
Stalking Horse Bidder, WAAG, shall be treated as a qualifying bid (a “Qualified Competing
Bidder” and a “Qualified Competing Bid”), only if the bid shall:
            a. be in writing and accompanied by a redlined asset purchase agreement (“APA”)
               outlining the changes from WAAG’s APA;
            b. contain terms and conditions that are the same, substantially similar, or more
               beneficial to the estate. This provision shall not be interpreted to prevent offers
               for a single parcel or group or groups of parcels;
            c. be accompanied by a written acknowledgement and agreement that the terms of
               the bid are substantially similar in all material respects to WAAG’s APA, except
               for the identity of the bidder and the Purchase Price, or shall specify how the bid
               is more beneficial to the estate;
            d. exceed the Purchase Price by at least Twenty-Five Thousand and no/100
               ($25,000);
            e. include satisfactory evidence of the financial ability of the Qualified Competing
               Bidder to timely consummate the purchase for cash; and
            f. include a deposit of One Hundred Twenty-Five Thousand and no/100 ($125,000)
               in certified funds payable to the trust account of counsel for the Debtors.
   13. The Bid Procedures Order further requires that Debtor use its best business judgment
regarding any submitted bids and may consult with other parties in interest to determine if any
such bids constitute a Qualified Competing Bid.
   14. The Bid Procedures Order ultimately notes that, “The Court shall decide any dispute over
what constitutes a “Qualified Competing Bid,” and nothing in [the Bid Procedures Order] shall
be read to prohibit the Court from considering higher or otherwise better bids on terms that differ
from the Debtors’ proposed sale.”




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   15. Upon review, the Debtor believes that the Court should determine whether the Argus
APA and the PureCycle APA should be considered as a Qualified Competing Bids.
   16. The Second Amended APA from WAAG is attached hereto as Exhibit A. The Argus
APA is attached hereto as Exhibit B. The PureCycle APA is attached hereto as Exhibit C. The
Debtor asks that the Court consider the Amended APA at the hearing, which has been
rescheduled for 1:00 P.M. on August 5, 2020 at the J. Bratton Davis United States Bankruptcy
Courthouse, 1100 Laurel Street, Columbia, South Carolina.
                                      CONCLUSION
       As demonstrated above, the Debtor has received an Amended APA and continuing
interest in the purchase of the assets subject to the pending Sale Motion.      The ultimate
determination on whether the additional bid received is a Qualified Competing Bids must be
made by the Court.
       RESPECTFULLY SUBMITTED on this the 4th day of August 2020, at Columbia, South
Carolina.

                                           McCARTHY, REYNOLDS, & PENN, LLC

                                         By:       /s/ W. Harrison Penn
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